                Case 2:20-cv-00064-RSL Document 45 Filed 09/16/20 Page 1 of 2




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 5                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 6                                         AT SEATTLE
 7   _______________________________________
                                            )
 8   ADNAND RATHOD, et al.,                 )
                                            )                    No. C20-0064RSL
 9                         Plaintiffs,      )
                v.                          )
10                                          )                    ORDER GRANTING DEFENDANTS’
     PROVIDENCE HEALTH & SERVICES,          )                    MOTION TO CONTINUE CASE
11   d/b/a PROVIDENCE REGIONAL MEDICAL )                         MANAGEMENT DEADLINES
     CENTER and/or PROVIDENCE HOSPITAL )
12   OF EVERETT, et al.,                    )
                                            )
13                         Defendants.      )
     _______________________________________)
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15          This matter comes before the Court on the United States’ “Motion to Continue Case
16   Deadlines” (Dkt. # 39), in which the other defendants join (Dkt. # 41 and # 42). 1 Plaintiffs are
17   seeking to recover $2 million in past economic damages and over $40 million in projected future
18   healthcare costs associated with injuries the minor, P.R., suffered during labor and delivery. The
19   case management order in this case was issued in March 2020 and establishes an expert
20   disclosure deadline of October 7, 2020. Defendants have shown that, despite their diligent
21   efforts to acquire a complete set of plaintiffs’ medical records to inform the identification and
22   preparation of expert witnesses, they will not be able to meet that deadline or the subsequent
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              The Court has considered plaintiffs’ untimely opposition, but need not wait for a reply before
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     resolving this motion.
26
     ORDER GRANTING DEFENDANTS’ MOTION
     TO CONTINUE CASE MANAGEMENT DEADLINES - 1
                   Case 2:20-cv-00064-RSL Document 45 Filed 09/16/20 Page 2 of 2




     deadlines which depend on the timely disclosure of experts. 2
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               For all of the foregoing reasons, the motion to continue case management deadlines is
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     GRANTED. An amended case management order with a trial date of November 1, 2021, will be
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     issued.
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 7             Dated this 16th day of September, 2020.
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 9                                                 Robert S. Lasnik
                                                   United States District Judge
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              Defendants have been requesting plaintiffs’ medical records since January 2020, providing a
     form release, offering to set up a file sharing program so that documents already in plaintiffs’ possession
22   could be transferred remotely, and repeatedly contacting plaintiffs’ counsel regarding production. These
23   efforts met with only limited success. One of the defendants eventually resorted to issuing a Rule
     45 subpoena to one of P.R.’s known providers, which resulted in the early-September production
24   of records held by Seattle Children’s Hospital. Plaintiffs’ assertion that defendants “have been in
25   possession of the relevant medical records since they were created” (Dkt. # 44 at 3) may apply to the
     medical records associated with childbirth, but is otherwise wholly unsupported.
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     ORDER GRANTING DEFENDANTS’ MOTION
     TO CONTINUE CASE MANAGEMENT DEADLINES - 2
